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 Counsel to Virginia Conservation Legacy Fund, Inc.
 and ERP Compliant Fuels, LLC

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               RICHMOND DIVISION

                                                               Chapter 11
 In re:
                                                               Case No. 15-32450 (KLP)
 PATRIOT COAL CORPORATION, et al.,
                                                               Jointly Administered
                      Debtors.


 BLACK DIAMOND COMMERCIAL FINANCE, LLC,

                      Plaintiff,                               Adv. Proc. No. 16-03105 (KLP)

                      v.

 VIRGINIA CONSERVATION LEGACY FUND, INC. and
 ERP COMPLIANT FUELS, LLC,

                      Defendants.
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 VIRGINIA CONSERVATION LEGACY FUND, INC. and
 ERP COMPLIANT FUELS, LLC,

                       Counterclaim-Plaintiffs,

                       v.

 BLACK DIAMOND COMMERCIAL FINANCE, LLC,

                       Counterclaim-Defendant.



    VCLF’S MOTION IN LIMINE TO PRECLUDE DAMAGES TESTIMONY FROM
                BLACK DIAMOND-AFFILIATED WITNESSES

        Virginia Conservation Legacy Fund, Inc. and ERP Compliant Fuels, LLC (collectively,

 “VCLF”) respectfully move this Court in limine to preclude Black Diamond Commercial

 Finance, LLC (“Black Diamond”) from eliciting testimony regarding damages from Black

 Diamond representatives or affiliated witnesses at the upcoming trial scheduled to commence

 June 4, 2018.

        For the reasons described in VCLF’s Memorandum of Law in Support of Motion in

 Limine to Preclude Damages Testimony From Black Diamond-Affiliated Witnesses, filed

 contemporaneously herewith, the Court should enter an order substantially in the form of the

 attached Exhibit A.

                                             Respectfully submitted,

 Dated: May 29, 2018                           /s/ Patrick J. Potter
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                                CERTIFICATE OF SERVICE

        I hereby certify that, on May 29, 2018, I filed the foregoing VCLF’s Motion in Limine to

 Preclude Damages Testimony from Black Diamond-Affiliated Witnesses by uploading it to this

 Court’s CM/ECF system, which will send notification of such filing to all CM/ECF participants,

 and that I served a copy on opposing counsel of record in this adversary proceeding by email.

                                                       /s/ Patrick J. Potter
                                                               Patrick J. Potter




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